      Case 3:17-cv-00939-WHA Document 2693-3 Filed 01/28/19 Page 1 of 8




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                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION

 WAYMO LLC,                                     CASE NO. 3:17-cv-00939

              Plaintiff,                        PLAINTIFF WAYMO LLC’S RESPONSE
                                                   TO DEFENDANTS’ SUBMISSION OF
        vs.                                     MICHAEL WAGNER’S DEPOSITION
                                                   TESTIMONY
 UBER TECHNOLOGIES, INC.;
    OTTOMOTTO LLC; OTTO TRUCKING                   UNREDACTED VERSION OF
 LLC,                                           DOCUMENT SOUGHT TO BE SEALED
              Defendants.
                                                   Date:       September 27, 2017
                                                Time:       8:00 a.m.
                                                   Ctrm:       8, 19th Floor
                                                Judge:      Honorable William H. Alsup
                                                   Trial Date: October 10, 2017
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                                 WAYMO’S RESPONSE TO DEFENDANTS’ SUBMISSION OF DEPOSITION TESTIMONY
     Case 3:17-cv-00939-WHA Document 2693-3 Filed 01/28/19 Page 2 of 8




 1          Nothing about Defendants’ submission of Michael Wagner’s deposition transcript changes

 2 the outcome on their motion to exclude. Defendants’ submission implies that they obtained some

 3 “gotcha” admission from Wagner during his deposition, but there is none. As before, Wagner’s

 4 methodologies are sound, and all of Defendants’ (repeated) challenges go to the weight of the

 5 evidence. For all of the same reasons Waymo explained in its opposition, Defendants’ motion to

 6 exclude should be denied.

 7 Wagner Did Not Calculate Lost Profits to Waymo (pp. 23-24, 41, 80)

 8          As Waymo explained in its opposition, Waymo is not seeking lost profits. In both their

 9 motion and in Wagner’s deposition, Defendants try to cast Wagner’s damages analysis as a “future

10 profits model.” (Dkt. 1786-3 at 41:1-3, 80:16-17.) But as Wagner made clear in his deposition (in

11 testimony that Defendants do not highlight in their submission), he is not calculating Waymo’s

12 future lost profits. (Dkt. 1786-3 at 22:20-23.) Instead, he is calculating Defendants’ unjust

13 enrichment based on how Uber expected the trade secrets to accelerate its own AV timeline at the

14 time of misappropriation. This is an accepted way of measuring harm. W.L. Gore & Assoc. v. GI

15 Dynamics, 872 F. Supp. 2d 883, 891 (2012) (allowing damages expert to measure unjust

16 enrichment using defendants’ own models for an unreleased product because defendant had come

17 up with a “sophisticated method for calculating the value of bringing a product to market”). The

18 Court should deny Defendants’ motion because Wagner has put forth an almost identical model
19 here. Apple v. Motorola, 757 F.3d 1286, 1314-15 (Fed. Cir. 2014) (cautioning the judiciary “not

20 to overstep its gatekeeping role and weigh facts, evaluate the correctness of conclusions, impose

21 its own preferred methodology, or judge credibility, including the credibility of one expert over

22 another” because “[t]hese tasks are solely reserved for the fact finder”).

23 Ad Hoc Information is Not Relevant to How Uber Measured Its Own Projected Enrichment
   at the Time of Misappropriation (pp. 29-32, 57, 64, 66-68, 73
24
           Defendants continue to suggest that Wagner’s analysis is unreliable because he failed to
25
   consider certain ad hoc information. (Dkt. 1786-3 at 29-31 (implying that Wagner’s analysis is
26
   unreliable because he did not consider whether Uber plans to launch with a safety driver, or when
27
   they plan on removing safety drivers), 32 (implying that Wagner’s analysis is unreliable because
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                                                     -1-
                                     WAYMO’S RESPONSE TO DEFENDANTS’ SUBMISSION OF DEPOSITION TESTIMONY
     Case 3:17-cv-00939-WHA Document 2693-3 Filed 01/28/19 Page 3 of 8




 1 he did not consider how self-driving regulations could affect Uber’s launch plans), 57 (implying

 2 that Wagner’s analysis is unreliable because Uber has since stopped using the Rubicon models)).

 3 But as Waymo explained in its opposition, unjust enrichment is measured as of the date of the

 4 misappropriation. See, e.g., University Computing v. Lykes-Youngstown, 504 F.2d 518, 536 (5th

 5 Cir. 1974); Litton Sys. v. Ssangyong, 1993 WL 317266, at *4 (N.D. Cal. Aug. 19, 1993). As

 6 Defendants were misappropriating Waymo’s trade secrets (i.e., as they were acquiring Otto), Uber

 7 calculated the potential enrichment to itself as of that date. As Wagner explained in his deposition,

 8 finding such a model in a party’s production is like finding a “Rosetta Stone”; using models that

 9 are not prepared in anticipation of litigation is the best-case scenario for any damages expert.

10 (Dkt. 1786-3 at 50:25-13.) Wagner assumed that Uber’s own assumptions were “reasonable,

11 conservative, and [reflected] the best judgment of [Uber] at the time they made the projection.”

12 (Id. at 30:12-16.) To the extent Defendants have factual criticisms regarding Wagner’s

13 interpretation of their own models, they are free to cross-examine Wagner on those issues at trial.

14 City of Pomona v. SQM N. Am., 750 F.3d 1036, 1044 (9th Cir. 2014).

15          Even more importantly, the document underlying Ms. Qi’s analysis that Defendants

16 withheld until the day before Wagner’s deposition reveals that intervening events are not even

17 relevant to determining whether Qi’s analysis was correct; Uber was not assuming any

18 incremental benefit from the Otto acquisition at all until 2018. As Waymo has explained, Qi
19 attempted to calculate the present value of incremental profit Uber expected to achieve by

20 accelerating AV deployment in its ride sharing fleet. Ms. Qi’s analysis confirms this: she

21 calculates the EBIT (profit) for a base case and with one year and two years of “accelerated

22 technological capabilities.” Importantly, Uber did not model any increased profit due to AV

23 vehicle trips until 2018. In other words, according to Qi’s model, Uber would not even begin

24 realizing the benefits of its accelerated AV timeline until 2018. Thus, nothing that has or has not

25 occurred in the past two years can show that history has proven Uber’s analysis “false,” as

26 Defendants misleadingly argued in their motion and suggested in their deposition questioning of
27 Wagner. (Mot. 6 (“the Qi Slide assumes that the Otto acquisition will advance Uber’s AV

28 program by 1-2 years . . . [b]ut history has proven that false”).)

                                                     -2-
                                     WAYMO’S RESPONSE TO DEFENDANTS’ SUBMISSION OF DEPOSITION TESTIMONY
     Case 3:17-cv-00939-WHA Document 2693-3 Filed 01/28/19 Page 4 of 8




 1 Wagner Tested Uber’s Assumptions (pp. 50, 98-101)

 2          Defendants continue to suggest that Wagner’s methodology was not reliable because he

 3 did not independently test Uber’s data, but Defendants have not raised any new arguments by way

 4 of Wagner’s deposition. (Dkt. 1786-3 at 50, 98-101.) As a preliminary matter, and as Waymo

 5 explained in its opposition, Defendants did not produce the Rubicon model until almost a month

 6 after the close of fact discovery and on the eve of Wagner’s deposition, even though Waymo

 7 specifically asked for it during fact discovery. (Opp. Ex. 8.) Despite this, Wagner analyzed every

 8 Rubicon-related document that Defendants produced, including presentations summarizing certain

 9 outputs from the models and notes of the team that met regularly to work on the models, and

10 confirmed that later-in-time modeling was in line with the January 2016 modeling that Ms. Qi

11 used (and indeed, supported the fact that Ms. Qi’s estimates were conservative at the time).

12 Wagner compared Uber’s accelerated development assumptions with estimates and analysis of

13 Waymo’s technical expert Dr. Hesselink, who confirmed that they were reasonable. (Dkt. 1615 at

14 53, 63.) Wagner also reviewed corroborating testimony from Uber leaders like Bares and

15 McClendon, (id. at 149-150), and compared the January 2016 modeling assumptions to the only

16 other financial modeling that Uber produced (conducted in March 2017) to further corroborate the

17 results of Ms. Qi’s analysis. (Opp. Ex. 6 at 13-14.) Moreover, and as discussed above, the late-

18 produced Rubicon model further supports Wagner’s opinion.
19          Defendants also continue to suggest that Wagner did not do enough to test Uber’s $20

20 million per month run rate. (Dkt. 1786-3 at 98-101.) But as Waymo explained in its opposition,

21 this estimate comes directly from John Bares, one of the key people overseeing Uber’s technical

22 AV progress at the time. (Dkt. 1615 at 110.) Bares made these statements in the context of the

23 Otto acquisition (and reconfirmed these estimates during his deposition.) (Id.) Wagner also

24 compared Uber’s saved development expense assumptions to Dr. Hesselink’s opinions, who

25 confirmed them. (Dkt. 1615 at 53, 63.) Bares’ estimates are in line with the contemporaneous

26 expectations of others on the deal team, and Uber cannot argue otherwise.
27 Qi’s Models Accounted for Future Events (pp. 54-55, 57)

28          Defendants continue to point to the fact that the Rubicon model itself says that future

                                                     -3-
                                     WAYMO’S RESPONSE TO DEFENDANTS’ SUBMISSION OF DEPOSITION TESTIMONY
     Case 3:17-cv-00939-WHA Document 2693-3 Filed 01/28/19 Page 5 of 8




 1 events may be “highly speculative.” (Dkt. 1786-3 at 54-55, 47.) But as Waymo showed in its

 2 opposition, Qi – and by extension Wagner – already accounted for any potential uncertainty in the

 3 Rubicon model. As she was putting together her estimates, Qi discounted her valuations by 15%

 4 to account for these kinds of uncertainties, so any future risks associated with the Rubicon model

 5 have already been subsumed in Uber’s own analysis. It was appropriate for Wagner to adopt Qi’s

 6 discount rate. W.L. Gore, 872 F. Supp. 2d at 891 (allowing expert to calculate unjust enrichment

 7 based on defendants’ future modeling where defendant “has shown that it is capable of pricing the

 8 chance of failure into its projections for its own device” and “properly discounted” future benefits

 9 “based on the risk that a product may never reach the market”). To the extent Defendants argue

10 that Wagner should have adopted a different discount rate, that is a dispute about “the degree of

11 relevance or accuracy” that goes to “the testimony’s weight, but not its admissibility.” i4i Ltd.

12 P’ship v. Microsoft, 598 F.3d 831, 852 (Fed. Cir. 2010).

13 Wagner Correctly Assumed That Obtaining Waymo’s LiDAR-Related Trade Secrets Would
   Significantly Advance Uber’s Efforts (pp. 83-85, 102-106, 108-113)
14
           Defendants continue to imply that Wagner should have considered the import of other,
15
   non-LiDAR technology on Uber’s commercialization timeline, such as radar, sonar, cameras and
16
   software. (Dkt. 1786-3 at 83-85, 102-106, 108-113.) As Waymo’s opposition demonstrated,
17
   however, the assumption that Waymo’s LiDAR trade secrets are a gating item for widespread
18
   commercialization is well-supported by the record evidence, and by the testimony of Dr.
19
   Hesselink. Even Uber’s witnesses have admitted that LiDAR is a “critical path element” for being
20
   able to launch self-driving technology at scale. (Opp. Ex. 6 at 26.)
21
           As Waymo explained in its opposition, the relevant inquiry for Wagner’s analysis is how
22
   Uber valued the technology it was acquiring at the time of misappropriation. The evidence
23
   overwhelmingly suggests that Uber acquired Otto because it needed the technology to build
24
   custom lasers. (Dkt. 1615 at 63 (discussing the Otto transaction, Kalanick acknowledged, “by no
25
   means is this a perfect deal, but it is okay. We need lasers.”).) There was little to no
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   contemporaneous discussion of radar, sonar, cameras or software, and Uber does not argue
27
   otherwise. Indeed, as Uber was structuring the Otto acquisition, Uber premised payment on Otto’s
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                                                     -4-
                                     WAYMO’S RESPONSE TO DEFENDANTS’ SUBMISSION OF DEPOSITION TESTIMONY
     Case 3:17-cv-00939-WHA Document 2693-3 Filed 01/28/19 Page 6 of 8




 1 ability to achieve a number of business and technical milestones. (Dkt. 1615 at 52, 66-67.) Every

 2 single one of the technical milestones is LiDAR-related; they do not focus on other hardware

 3 aspects of self-driving vehicles. (Id.). To the extent the milestones relate to software at all, they

 4 relate to software that supports LiDAR.

 5 Wagner Properly Assesses the Value of Trade Secret 25 (pp. 87-89)

 6          During Wagner’s deposition, Defendants again pointed to the fact that to date Dr.

 7 Hesselink has only identified evidence that Uber has used six of the scenarios listed in Trade

 8 Secret 25. (Dkt. 1786-3 at 87-89.) But as Waymo explained in its opposition, the fact that Uber

 9 may only be using six of them does not undercut their value; Waymo spent years driving millions

10 of miles to develop and refine the test scenarios claimed in Trade Secret 25. The fact that

11 Defendants may not be using every test scenario (or that Waymo has not uncovered evidence of

12 use for every one of them) does not make Defendants’ acquisition of them any less valuable.

13 Wagner Apportioned the Tyto Acquisition Price (pp. 114-117)

14          Defendants continue to imply that Wagner improperly failed to apportion the Tyto

15 acquisition price for certain assets that may have been unrelated to Trade Secret 90. (Dkt. 1786-3

16 at 114-17.) As a preliminary matter, Wagner relies on Dr. Hesselink’s testimony for the

17 understanding that almost all of Tyto’s assets are attributable to Trade Secret 90, which supports

18 attributing Tyto’s entire value to Waymo’s fiber laser design. But Wagner did not do that.
19 Instead, Wagner accounted for Tyto’s other assets by excluding the 2.75% equity stake that Tyto

20 employees received in Otto from the valuation of Trade Secret 90. (Id. 113-14.) This is a

21 significant amount of money ($16.2 million, more than double the $8 million that Wagner

22 attributes to Trade Secret 90) that Wagner did not attribute to Trade Secret 90 in order to account

23 for Tyto’s other assets. (Id. 113-115.) Neither Uber nor its experts have proposed any specific

24 values that should have been attributed to other assets that were acquired.

25 Wagner’s Reasonable Royalty Opinion is Well-Founded and Based on a Variety of Case-
   Specific Qualitative Factors (pp. 118-124)
26
           Defendants continue to suggest that Wagner’s 10% upward adjustment of reasonable
27
   royalty damages based on his analysis of the Georgia-Pacific factors was an arbitrary adjustment.
28

                                                      -5-
                                     WAYMO’S RESPONSE TO DEFENDANTS’ SUBMISSION OF DEPOSITION TESTIMONY
     Case 3:17-cv-00939-WHA Document 2693-3 Filed 01/28/19 Page 7 of 8




 1 (Dkt. 1786-3 at 118-124.) But as Wagner clearly explained during his deposition (testimony that

 2 Defendants fail to point to in their submission), the Georgia-Pacific analysis is “qualitative in

 3 nature,” and Wagner concluded that a 10% upward adjustment is appropriate after considering all

 4 relevant factors. As Waymo explained in its opposition, this is all that was required. Comcast IP

 5 Holdings v. Sprint, 2015 WL 4730899, at *6–7 (D. Del. Aug. 10, 2015); Veritas v. Microsoft,

 6 2008 WL 7404617, at *5 (W. D. Wash. Feb. 26, 2008).

 7 It is Premature to Consider the Propriety of an Injunction in Addition to a Monetary
   Damages Award (pp. 45, 123-124)
 8
           Defendants highlight the fact that Wagner did not consider the effect of a permanent
 9
   injunction on his damages numbers. (Dkt. 1786-3 at 45, 123-124.) Wagner has offered multiple
10
   damages theories, two premised on accelerated development and one premised on saved
11
   development expenses. Whether Waymo is entitled to an injunction in addition to monetary
12
   damages is necessarily a fact-specific inquiry, and will depend on how the jury chooses to
13
   compensate Waymo at trial. See ClearOne Commc’ns, Inc. v. Bowers, 643 F.3d 735, 753–54
14
   (10th Cir. 2011) (affirming a permanent injunction preventing defendants from using plaintiff’s
15
   trade secrets “forever” on top of monetary and punitive damages awards where jury found willful
16
   misappropriation, and where court recognized a “cognizable danger” that defendants would
17
   commit future violations); E.I. DuPont de Nemours and Co. v. Kolon Indus., Inc., 894 F. Supp. 2d
18
   691, 708 (E.D. Va. 2012) (affirming permanent injunction on top of a $919 million damages
19
   award and $350,000 punitive damages award in part because the misappropriated information put
20
   Kolon “in a quite advantageous position” with respect to next generation technology, “a position
21
   that Kolon enjoys only because it misappropriated DuPont’s trade secrets”). The Court and the
22
   parties can, if necessary, address the effect of Waymo’s request for an injunction on the jury’s
23
   damages award in post-trial motions.
24
   Nor Can Defendants Raise the Argument that Wagner Did Not Separately Calculate
25 Damages for Otto Trucking (p. 127)

26          Whether or not Wagner presents a separate damages number for Otto Trucking has no
27 bearing on Defendants’ motion to exclude; their original motion did not raise this issue and,

28 therefore, they cannot do so now. (Dkt. 1614-4.)

                                                     -6-
                                     WAYMO’S RESPONSE TO DEFENDANTS’ SUBMISSION OF DEPOSITION TESTIMONY
     Case 3:17-cv-00939-WHA Document 2693-3 Filed 01/28/19 Page 8 of 8




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                               WAYMO’S RESPONSE TO DEFENDANTS’ SUBMISSION OF DEPOSITION TESTIMONY
